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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


                                               )
STATE OF TEXAS,                                )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )       Civil Action No. 2:22-cv-00094-Z
                                               )
 ALEJANDRO MAYORKAS,                           )
 in his official capacity as                   )
 Secretary of Homeland Security, et al.,       )
                                               )
       Defendants.                             )
                                               )


              DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants write to advise the Court of a new Supreme Court decision that bears on this

case and on the supplemental briefing that this Court ordered on May 3, 2022. ECF No. 11. On

June 30, 2022, the Supreme Court decided Texas v. Biden, and reversed a Fifth Circuit decision

that had required the government to implement the Migrant Protection Protocols. Biden v. Texas,

No. 21-954, 2022 WL 2347211 (U.S. June 30, 2022). In doing so, the Supreme Court reiterated its

recent holding in Garland v. Aleman Gonzalez, 596 U. S. ––––, 2022 WL 2111346 (U.S. June 13,

2022), that 8 U.S.C. § 1252(f)(1) “no doubt deprives the lower courts of ‘jurisdiction’” to grant

injunctive relief related to covered provisions. Biden v. Texas, 2022 WL 2347211, at *9; see also

ECF No. 64, Notice of Supplemental Authority (addressing Aleman Gonzalez). In Texas v. Biden,

the Supreme Court applied Section 1252(f) in a case brought by the State of Texas, clarifying that

this provision applies to State plaintiffs, and held that “[t]he District Court’s injunction … violated

that provision.” Biden v. Texas, 2022 WL 2347211, at *7.
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       Plaintiff in this case is also the State of Texas. Here, just as in Biden v. Texas, Texas seeks

an injunction that would require the federal government to adopt its view of 8 U.S.C. § 1225.

Compare Biden v. Texas, 2022 WL 2347211, at *7 (describing injunction entered by the district

court at Texas’s request to enforce Texas’s interpretation of “the contiguous-territory return”

provision in “section 1225(b)(2)(C)”), with ECF No. 21, Motion for Preliminary Injunction

(seeking an injunction to enforce Plaintiff’s reading of section 1225(b)). Biden v. Texas together

with Aleman unambiguously establishes that Section 1225(f)(1) deprives this Court of jurisdiction

to enter the injunction that Texas seeks. See Aleman Gonzalez, 596 U.S. at ___ (slip op. at 7)

(holding that Section 1252(f) bars injunctions “requir[ing] officials to take actions that (in the

Government’s view) are not required by [the covered provisions] and to refrain from actions that

(again in the Government’s view) are allowed by [the covered provisions]”).

       The Supreme Court in Biden v. Texas reserved decision on whether Section 1252(f)(1) bars

district courts from “vacating” agency actions under the Administrative Procedure Act. See 597

U.S. at ___ (slip op. at 12 n.4). But for the reasons the Government previously explained in its

supplemental brief, Section 1252(f)(1) bars such relief in this case as well. ECF No. 17 at 14-18.




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   Date: July 7, 2022           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2022, I electronically filed the foregoing document with the

Clerk of the Court for the United States District Court for the Northern District of Texas by using

the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                      /s/ Brian C. Ward
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